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25 February 2022
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                                                                     FEB 2 8 2022
Mark B. Busby                                                   CLERK, U.S. DISTRICT COURT
Clerk of Court                                                      DISTRICT OF CALIFORNIA
United States District Court
450 Golden Gate Ave., Box 36060
San Francisco, CA 94102-3489



Subject: Facebook Tracking


Dear Sir,



I read this article on Reuters https://www.reuters.com/technology/metas-facebook­
pay-90-million-settle-privacy-lawsuit-over-user-tracking-2022-02-15/ and realized that if
data is being deleted then it is now or never for me to find out what happened to me.
The article mentions that a Judge needs to decide on the matter and so I write to you
to forward the following paragraphs on to the proper Judge please. I don't know how
the judicial system works and I have been afraid to contact this court until now.

Please do not come to a decision on the Facebook Like button privacy case until after
you've spoken to me. I am a victim of Mark Zuckerberg's defective platform. He was
negligent in preventing the harm that happened to me and yet in someways his
Network design facilitated the abuse that happened. For his benefit. He and his
company are responsible for the devastating detrimental psychological effects they
allowed to have happen. With no recourse to them. I tried to contact Facebq9k with no
luck in 2010 during what I thought was the beginning of what was happening to me at
the hands of agents of a foreign government. No response, or not interested, just like
every company, lawyer and professional person who I sought advice from since. 12
years. While Mark Zuckerberg publicly announces that he will fight every person and
claim that comes against his company. "Take it to the mat," I think he said. Tough
fighting words to deter anyone who may come against him. Most people will not want
to go against him or his mentor for fear of isolating themselves in business and life.
 Most people like myself cannot afford to go against him or his mentor Peter Thiel.

People working for Facebook and or private developers used the Like button and the
Facebook Network to manipulate me on and off-line over the span of 2 1/2 to 5 years.
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That I know of. I could go into convincing detail but I can only do that in person and in
confidence. I've written details to other people while trying to enlist their help but
when they don't reply, it is very humiliating, and I wonder where my information goes. I
have lived like this for many years of my life. In fear and in humiliation from gang
bullying and stalking. I would like to try and move on with my life but you don't get
your mind back once you lose it. I'd like to try and find my mind and that is why I want
to discover how and if the Facebook Network was used detrimentally against me. I
believe it was and yet there are no pathways to resolve the matter for me using
conventional methods. So I write to you today to try and help me resolve this long
outstanding matter. The Like button was a way to track users across the Internet and I
believe that that feature was used by other people, including Facebook employees,
against me over many years. So you cannot resolve this case until after you have heard
from a horribly impacted victim. Me. If the data is deleted, then the evidence of my
abuse will be deleted with it. One more opportunity of justice for me gone.

Thank you. I'm available to meet with you at your convenience.



Sincerely,




Martin Suroor Corrado
wwrkit@icloud.com
209-990-6577
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